          COMPLAINT EXHIBIT B




Case 1:15-cv-00559-CCE-JLW Document 1-2 Filed 07/13/15 Page 1 of 2
                      Senate Committee on Redistricting
                     Wednesday, June 10, 2015, 11:30 AM
                        544 Legislative Office Building

                                    AGENDA

Welcome and Opening Remarks

Introduction of Pages

Bills

BILL NO. SHORT TITLE                              SPONSOR
HB 263 City of Trinity Terms of Election.         Representative Hurley

Adjournment




        Case 1:15-cv-00559-CCE-JLW Document 1-2 Filed 07/13/15 Page 2 of 2
